Case 1:06-cr-10017-DDD-JPM Document 22-1 Filed 09/19/06 Page 1 of 1 PageID #: 51




                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                 ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA                                 CRIMINAL NO. 06-10017

 VERSUS                                                   JUDGE DRELL

 MELVIN WILLIAMS                                          MAGISTRATE JUDGE KIRK


                                           ORDER

        Upon consideration of the defendant’s motion entitled MELVIN WILLIAMS’ SECOND

 REQUEST FOR DISCOVERY AND SPECIFIC BRADY MATERIAL, the Court hereby ORDERS

 said motion:

 _______________________ GRANTED            __________________DENIED

 _______________________ GRANTED, to the following extent:

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________



        Alexandria, Louisiana, this _______ day of September, 2006.



                                    __________________________________________
                                    JAMES D. KIRK
                                    United States Magistrate Judge
